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                              Certificate of Service

      I hereby certify that, on December 23, 2016, I caused a copy of the foregoing

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